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11
                                UNITED STATES DISTRICT COURT
12                                   DISTRICT OF NEVADA

13   UNITED STATES OF AMERICA,                        Case No. 2:21-cr-139-APG-BNW

14                 Plaintiff,                       GOVERNMENT’S UNOPPOSED
                                                      MOTION TO DESIGNATE
15         v.                                              CLASSIFIED
                                                  INFORMATION SECURITY OFFICER
16   TINA CHEN,
        aka “Ya When Chen,”
17      aka “Wen Tina Chen,”
        aka “Tina Dunbar,”
18      aka “Tina Dubner,”

19                 Defendant.

20

21          Pursuant to the Classified Information Procedures Act, 18 U.S.C. App. III

22   (“CIPA”), and Section 2 of the Security Procedures established under Pub. L. 96-456, 94

23   Stat. 2025, by the Chief Justice of the United States and promulgated under Section 9 of

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1    CIPA (the “Security Procedures”), 1 the United States of America hereby files this

2    unopposed motion for the appointment of a Classified Information Security Officer

3    (“CISO”) and Alternate CISOs in this case.

4            As outlined in the Security Procedures, in any proceeding in a criminal case in

5    which classified information is reasonably expected to be within the custody of the court,

6    the court shall designate a CISO. The CISO will be detailed to the court to serve in a

7    neutral capacity and will be responsible to the court for the security of all classified

8    information in the court’s custody. In addition, any matter relating to personnel,

9    information, or communications security will be the responsibility of the CISO. The Court

10   may also designate one or more alternative classified information security officers.

11           As further outlined in the Security Procedures, the Attorney General or the

12   Department of Justice Security Officer will recommend a person to be designated as a

13   CISO who is in the Litigation Security Group, Security and Emergency Planning Staff,

14   Department of Justice and who is qualified to serve as a CISO. These qualifications include

15   that the individual has demonstrated competence in security matters and possesses the

16   necessary clearance for the level and category of classified information involved.

17           This is a criminal matter in which the grand jury has returned an indictment

18   charging the Defendant with violating the International Emergency Economic Powers Act

19   (“IEEPA”). This case involves classified materials and will involve filings pursuant to

20   CIPA.

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       The Revised Security Procedures Established Pursuant to Pub. L. 96-456, 94 Stat. 2025, by
     the Chief Justice of the United States for the Protection of Classified Information, are
24   available online at: https://uscode.house.gov/view.xhtml?req=granuleid:USC-prelim-
     title18a-node16-section9&num=0&edition=prelim.


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1           To assist this Court and its personnel in the handling of motions pursuant to CIPA

2    and in the implementing of certain orders relating to this case, the government requests that

3    this Court designate Mr. Winfield S. “Scooter” Slade, Supervisory Security Specialist, as

4    the CISO, who will on behalf of this Court assume appropriate responsibilities and perform

5    prescribed duties related to CIPA and the handling of classified materials.

6           The government further requests that this Court designate the following persons as

7    Alternate CISOs, to serve in the event Mr. Slade is unavailable: Security Specialists Daniel

8    O. Hartenstine, Daniella M. Medel, Matthew W. Mullery, Carli V. Rodriguez-Feo, and

9    Harry J. Rucker.

10          As required by the Security Procedures, these individuals are from the Litigation

11   Security Group, Security and Emergency Planning Staff, Department of Justice. They are

12   qualified to serve as CISOs in this case, including having demonstrated competence in

13   security matters and possessing the necessary clearance for the level and category of

14   classified information involved in this case.

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1           For all of the foregoing reasons, the government respectfully requests that this Court

2    appoint a CISO and Alternate CISOs in this case. The government has contacted defense

3    counsel about this motion and has been informed that defense counsel agrees to the entry

4    of the proposed Order. A proposed Order granting this motion is attached hereto.

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                                                Respectfully submitted,
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7
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8                                               ACTING UNITED STATES ATTORNEY

9                                               By: s/ Jessica Oliva

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1                               UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
2
     UNITED STATES OF AMERICA,                         Case No. 2:21-cr-139-APG-BNW
3
                   Plaintiff,
4
           v.
5
     TINA CHEN,
6       aka “Ya When Chen,”
        aka “Wen Tina Chen,”
7       aka “Tina Dunbar,”
        aka “Tina Dubner,”
8
                   Defendant.
9

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11     ORDER DESIGNATING CLASSIFIED INFORMATION SECURITY OFFICER

12          The Court has been made aware that this case will involve the use and discovery of

13   classified information. Federal law explicitly provides that federal courts must have security

14   procedures for the handling of classified information. See Classified Information Procedures

15   Act, Pub. L. 96-456 § 9, 94 Stat. 2025 (1980). Pursuant to Paragraph 2 of the Revised

16   Security Procedures Established Pursuant to Pub L. 96-456, 94 Stat. 2025, by the Chief

17   Justice of the United States for the Protection of Classified Information, the Court HEREBY

18   APPOINTS Winfield S. “Scooter” Slade, Security Specialist, as the Classified Information

19   Security Officer in the above-captioned matter.

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1           The Court FURTHER APPOINTS Security Specialists Daniel O. Hartenstine,

2    Daniella M. Medel, Matthew W. Mullery, Carli V. Rodriguez-Feo, and Harry J. Rucker,

3    as Alternate Classified Information Security Officers in the above-captioned matter.

4

5           IT IS SO ORDERED.
6
                       21st day of December, 2021.
            Dated this ____
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9                                              HON. BRENDA WEKSLER
                                               UNITED STATES MAGISTRATE JUDGE
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